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17   AERIAL WEST, LLC
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20                        UNITED STATES DISTRICT COURT
21
                        CENTRAL DISTRICT OF CALIFORNIA
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                                                                Case No. 2:18-cv-02288-JAK-SS
         JOINT STIPULATION TO SET ASIDE ENTRY OF DEFAULT AND SET TIME FOR DEFENDANTS TO
                                                           RESPOND TO INITIAL COMPLAINT
                                              -1-
     Case 2:18-cv-02288-JAK-SS Document 19 Filed 06/04/18 Page 2 of 4 Page ID #:154



 1   Aerial West, LLC,                            Case No. 2:18-cv-02288-JAK-SS
 2
                         Plaintiff,               JOINT STIPULATION TO SET
 3                                                ASIDE ENTRY OF DEFAULT AND
 4                 v.                             SET TIME FOR DEFENDANTS TO
                                                  RESPOND TO INITIAL
 5
     Drone World, LLC, Stephen Paul               COMPLAINT
 6   McKenna, and DOES 1-10, inclusive,
 7
                         Defendants.
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14         WHEREAS prior counsel for defendants Drone World, LLC and Stephen
15   Paul McKenna (“Defendants”) stipulated with plaintiff to respond to the initial
16   Complaint in the above captioned action by May 11, 2018 (Dkt. #14);
17         WHEREAS Plaintiff requested default be entered against Defendants on
18   May 18, 2018 (Dkt. #15-16);
19         WHEREAS Defendants continued to seek counsel to represent Defendants
20   in the action;
21         WHEREAS, the clerk entered default against Defendants on May 23, 2018
22   (Dkt. #17);
23         WHEREAS Defendants retained its current counsel to represent Defendants
24   in the above captioned action on May 23, 2018;
25         WHEREAS Plaintiff and Defendants stipulate and agree that the entry of
26   default should be set aside and Defendants should have up and until June 5, 2018
27   to respond to the Complaint.
28
                                                                Case No. 2:18-cv-02288-JAK-SS
         JOINT STIPULATION TO SET ASIDE ENTRY OF DEFAULT AND SET TIME FOR DEFENDANTS TO
                                                           RESPOND TO INITIAL COMPLAINT
                                              -2-
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 1         WHEREAS Plaintiff and Defendants stipulate pursuant to Fed. R. Civ. P.
 2   26(d)(1) that discovery may proceed on or after June 4, 2018 without a Rule 26(f)
 3   conference.
 4         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
 5   and between the undersigned counsel and subject to the Court’s approval that the
 6   entry of default against Defendants shall be set aside and the deadline for
 7   Defendants’ response to the Complaint shall be June 5, 2018.
 8
 9                                           Respectfully Submitted,
10   Dated: June 4, 2018                     MANDOUR & ASSOCIATES, APC
11
12                                                 /s/ Ben T. Lila
13                                           Ben T. Lila (SBN 246808)
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14                                           Attorneys for Defendants,
15                                           DRONE WORLD, LLC AND STEPHEN
                                             PAUL MCKENNA
16
17
18   Dated: June 4, 2018                     ZUBER LAWLER & DEL DUCA LLP
19
20                                                 /s/ Robert W. Dickerson
21                                           Robert W. Dickerson, (SBN 89367)
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22                                           Attorneys for Plaintiff,
23                                           AERIAL WEST, LLC
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                                                                Case No. 2:18-cv-02288-JAK-SS
         JOINT STIPULATION TO SET ASIDE ENTRY OF DEFAULT AND SET TIME FOR DEFENDANTS TO
                                                           RESPOND TO INITIAL COMPLAINT
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on the below date, I filed the foregoing document via
 3   the Court’s CM/ECF Filing System, which will serve electronic notice of the same
 4   on the following:
 5
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                                                                Case No. 2:18-cv-02288-JAK-SS
         JOINT STIPULATION TO SET ASIDE ENTRY OF DEFAULT AND SET TIME FOR DEFENDANTS TO
                                                           RESPOND TO INITIAL COMPLAINT
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